             II
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                          Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 1 of 28




                                                                                 The H onorable Robert J. Bryan
         2

         3

         4

         5

         6

         7                                      UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF WASHINGTON
         8                                               ATTACOMA
         9        C.P., by and through his parents, Patricia
                  Pritchard and Nolle Pritchard; and                    NO. 3:20-cv-06145-RJB



                                                                       ..
        10
                  PATRICIA PRITCH ARD,
        11                                                              DECLARATION OF
                                             Plaintiffs,
        12
                           V.

        13
                  BLUE CROSS BLUE SH IELD OF ILLINOIS,
        14
                                             Defendant.
        15 • - - - - - - - - - - - - - - - - - - -

        16
                          I, ~ .                   , declare under penalty of petjmy and in accordance with the

        17
                  laws of the State of Washington and the United States that:

        18
                          1.        I am over the age of 18 and competent to testify to all matters sta ted herein.

        19
                  All statements are made upon my personal knowledge.
                          2.        I am the mother of a 12-year-old transgender girl, S.L., w ho is diagnosed
        20

                  with two separate serious conditions: gender dysphoria and early-onset (precocious)
        21

                  puberty.
        22

                          3.        Although S.L. w as assigned male a t birth, she has identified as female since
        23
                  she was four years old. S.L. socially transitioned to female around the age of seven. She
        24

                  has legally changed her name and gender to match her identity .
        25

        26
                                                                                             S IRIAl\1NI Y OUTZ
                  DECLARATION OF ~111111111 -l                                       S P OONEMORE :HA.\1BURGER PLLC
                  [Case No. 3:20-cv-06145 -RJB])                                        3101 W ESTERN A VENUE,SUITE350
                                                                                          SEATTLE, W ASHINGfON 98121
                                                                                      TEL. (206) 223~ FAX (206) 223-0246
             II
DocuSign Envelope ID: FC87E012-A41C-4O12-8772-2496EFDA596F
                          Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 2 of 28




                          4.       S.L. is enrolled in a self-funded health plan administered by Blue Cross
         2        Blue Shield of Illinois (BCBSIL}, through my husband's employment w ith a non-

         3        religious employer headquartered in Illinois.
         4                5.       Up until about two years ago, our family, including S.L., received our

         5        health coverage through a Blue Cross of Blue Shield of Oregon (BCBSOR) health plan

         6        provided through my husband's previous employer. At the time, my daughter was

         7        receiving quarterly intramuscular injections of Lupron (in her thigh}, a medication

         s        covered by BCBSOR, to stop the commencement of puberty . This type of medication is
         9        sometimes referred to as a " puberty blocker."
        10                6.       When my husband changed employers about two years ago, we switched
        11        to the BCBSIL-administered plan furnished through his new employer.
        12                7.       After we switched health plans, my daughter S.L. was prescribed
        13        Supprelin, an implantable device that delivers puberty-blocking hormones into the

        14        patient.      Supprelin is a more effective puberty blocker than Lupron (which was only
        15        partially effective at blocking S.L.' s early-onset puberty}, and its administration does not

        16        require the painful, quarterly intramuscular injections that left S.L. limping for days after
        17        each injection.
        18                8.       On or around February 17 and May 24, 2022, S.L.'s health care providers

        19        requested pre-authorization of her puberty blockers - both Lupron and Supprelin.
        20        BCBSIL provided notice that each preautho1ization was approved. Attached as Exh. 1,

        21        is a hue and correct copy of the notice we received.

        22                9.       Despite the pre-authorization, BCBSIL ultimately denied coverage of S.L.' s

        23        puberty blockers. Attached as Exh. 2, is a true and correct copy of the denial we received.

        24                10.      On or around, March 17, 2023, we submitted an internal appeal of the

        25        denial of coverage for S.L.'s puberty blockers.

        26
                                                                                        S IRIAl\1NI Y OUTZ
                  DECLARATIONOF ~111111111- 2                                     SPOONEMORE :HA.\1BURGER PLLC
                  [Case No. 3:20-cv-06145-RJB])                                      3101 WESTERN AVENUE, SUITE350
                                                                                       SEATTLE, W ASHINGfON 98121
                                                                                   TEL. (206) 223~ FAX (206) 223-0246
             II
DocuSign Envelope ID: FC87E012-A41C-4O12-8772-2496EFDA596F
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                          11.      In a letter dated May 19, 2023 addressed to me, BCBSIL informed me that
         2        it denied the appeal, upholding the initial decision that " transsexual surgery and related
         3        psychiatric care are not covered." The denial letter cites this text from the health plan's
         4        "Summary Plan Description and/ or benefit booklet:
         5                         According to the " Exclusions- What is Not Covered" section:
         6
                                   Expenses for the following are not covered under your benefit
         7                         program:

         8                           Gender reassignment surge1y (also referred to as transsexual
                                   Surgery, sex reassignment Surgery or intersex Surge1y ),
         9
                                   including related services and supplies.
        10
                          12.      The letter also sta ted that my " internal appeal rights have now been
        11
                  exhausted." Attached as Exh. 3 is a true and correct copy of the denial of my internal
        12
                  appeal.
        13
                          13.      Sometime in March 2023, I was told by BCBSIL membership services that,
        14
                  had S.L. been diagnosed only w ith early -onset puberty (i.e., not gender dysphoria AND
        15
                  early-onset puberty), BCBSIL would have likely covered the puberty blocker.
        16
                          14.      Based on our con sultation w ith S.L. healthcare providers, S.L. may require
        17
                  a new puberty blocker implant by the end of the year as well as gender affirming
        18
                  hormones in the future.
        19
                          15.      The cost of S.L.' s puberty blockers is so high that we cannot afford to pay
        20
                  for these services out of pocket. Indeed, we are presently faced with nearly $200,000 in
        21
                  uncovered medical bills related to BCBSIL' s denial of the 2022 puberty blocker and
        22
                  ongoing denials related to her bloodwork to monitor the blocker.
        23
                          16.      BCBSIL has also denied coverage of S.L.'s mental health treatment. We
        24
                  believe the denials are based upon her diagnosis with gender dysphoria.
        25

        26
                                                                                        S IRIAl\1NI Y OUTZ
                  DECLARATIONOF ~ 1 l l l l l l l l - 3                           SPOONEMORE :HA.\1BURGER PLLC
                  [Case No. 3:20-cv-06145-RJB])                                       3101 WESTERN AVENUE,SUITE350
                                                                                        SEATTLE, W ASHINGfON 98121
                                                                                    TEL. (206) 223~ FAX (206) 223-0246
             II
DocuSign Envelope ID: FC87E012-A41C-4O12-8772-2496EFDA596F
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                          17.      We anticipate that S.L. will require gender affirming care in the future,

         2        possibly including surge1y. We want to ensure that BCBSIL does not continue to
         3        administer gender affirming care exclusions like that in S.L.'s health plan. S.L. should

         4        not continue to suffer discrimination because of her gender identity.
         5                18.      I am familiar with the duties and responsibilities of being a named

         6        plaintiff/ class representative. I have read the class definition as it was proposed by the
         7        Plaintiffs and amended by the Court in an Order issued on November 9, 2022, listed as

         8        Dkt. No. 113 and as amended in Dkt. No. 143. I am willing to be class representative on

         9        behalf of other persons in the class similarly situated to myself or S.L. If appointed, I will
        1o        diligently look out for the interests of all class members. I am not aware of any conflict

        11        I may have with any proposed class members.
        12                19.      On behalf of S.L., my husband and I are willing to be named

        13        plaintiffs/ class representativ es if it is helpful to the Plaintiff Class.
        14
                          DATED this _19th_ day of September, 2023, at _ _P_o_r_tl_an_d
                                                                                     _ _ _ _~, OR.
        15

        16                                                           [iiiRIIII
                                                                         036084AOEA2- -
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                                                                                             S IRIANNI YOUTZ
                  DECLARATION O F ~ ~ - 4                                             S POONEMORE H AMBURGER PLLC
                  [Case No. 3:20-cv-06145-RJB])                                          3101 WESTERN A VENUE, SUITE 350
                                                                                           SEATTLE, WASHINGTON 98121
                                                                                       TEL. (206) 223-0303 FAX (206) 223-0246
Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 5 of 28




                                        Exhib it 1
              Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 6 of 28




                                                                            ( Close 0   )


May 24, 2022 - May 24, 2023
   Overall Status: Approved



Provider: Megan Jacobs
Request ID: U22048CDGF




  (11981

  Insertion, drug-delivery implant (ie, bioresorbable, biodegradable, non-
  biodegradable)

      Visits                  Status:
  1   Allowed                 Approved
                              May 24, 2022 - May 24,
                              2023
                Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 7 of 28




                                                                             (
                                                                                 /

                                                                                     Close
                                                                                             -0 )
~-
Feb 17, 2022 - May 24, 2022
   Overall Status: Approved



Provid er: Kara Connelly
Request ID: U22048CCON




  (96372

  Therapeutic, prophylactic, or diagnostic injection (specify substance or drug);
  subcutaneous or intramuscular

      Visits                  Status:
  2   Allowed                 Approved
                              Feb 17, 2022 - May 24,
                              2022
Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 8 of 28




                                        Exhibit 2
+'                          Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 9 of 28
                        BlueCross BlueShield of Illinois
                        PO Box 7344
                        Chicago, IL 60680 7344
                                                              EXPLANATION OF BENEFITS
                                                                                                                                                             Log into Blue Access for Members"'at bcbsil.com
                                                                                                                                             •                   • View plan and claim details
                                                                                                                                                                  • Contact us through our secure Message Center
                                                                                                                                                                  • Sign up for digital health plan info
                                                                                                                                                                  • Search for health care providers
                                                                                                                                              ~ Text* BCBSILAPP to 33633 to download the
                                                                                                                                             ~               mobileapp.

                                                                                                                                                             Have questions about this EOB? Customer Advocates
                                                                                                                                                             are here to help! 1-800-828-3116
SUBSCRIBER INFORMATION
PREMIUM ACTIVES
Member ID#: XXXXXXXX.3088 Group#: 000P17192
DearF911C. •                                 ,
An Explanation of Benefits (EOB) is a statement showing how claims were processed. This is not a bill. Your provider(s) may bill you direcUy for
any amount you may owe. KEEP FOR YOUR RECORDS.
HELPFUL INFORMATION
Health Care Fraud Hotline: 800-543-0867
Health care fraud affects health care costs for all of us. If you suspect any person or company of defrauding or attempting to defraud Blue Cross
and Blue Shield of Illinois, please call our toll-free hotline. All calls are confidential and may be made anonymously. For more information about
health care fraud, please go to bcbsil.com.

        GLOSSARY OF TERMS • We have described some of the                                                                               Deductible: The amount, if any, you must pay before we start
        terms used here to help you understand them, but you                                                                            paying contract benefits. You do not send this amount to us.
        should make sure to read your benefit plan materials if you                                                                     We subtract this amount from covered expenses on claims you
        have questions.                                                                                                                 and health care professionals send us. Some services can be
        Amount Billed: The amount your provider billed for the                                                                          covered before the deductible is met.
        service(s) rendered.                                                                                                            Non-Participating Provider: An out-of-network provider who
        Amount Covered (Allowed): Discounts, reductions, and
                                                                                                                                        does not accept rates for services we set to keep your costs
        amount covered (allowed) reflect the tenns of your plan, and in                                                                 down.
        the case of an in-network provider, the savings we have                                                                         Out-of-Pocket Limit (Maximum): Once you pay this amount in
        negotiated with your provider. Your deductible, coinsurance                                                                     deductibles, copayments and coinsurance for covered services,
        and copay are based on the allowed amount and the tenns of                                                                      we pay 100% of the allowed amount for covered services for
        your plan. Your share of coinsurance is a percentage of the                                                                     the rest of the benefit period.
        allowed amount after the deductible is met.                                                                                     Participating Provider: An in-network or out-of-network
        Coinsurance: The percentage of the allowed amount you pay                                                                       provider who accepts agreed-upon rates for services.
        as your share of the bill. For example, if your plan pays 80% of                                                                Your Total Costs: This is the sum of your copay, deductible
        the allowed amount, 20% would be your coinsurance.                                                                              and coinsurance. It also includes any amounts not covered by
        Copay Amount (Also known as Copayment): The set fee                                                                             your health plan. Amounts that a non-participating provider may
        you pay each time you receive a certain service. Some plans                                                                     bill you are not part of this.
        do not have copayments.




'Message ard dala rates may al'{ly. Terms & Ccrdtioosard Pmecy Polity bcbsl.com/Jlllbiltltext..,,..saging
Blue Cross Md Bile Slield d lllncis povides 81tni'istraive dairrs pa)fll<!flt services orly and does not assoo,e any lilaooal risk a ct,ligalicr, wit> resped to dains.
Blue Cross and Blue Shield of llinols, a Division of Health Care Service Corporation,
a Mutual Legal Reserve Company, an Independent Licensee of the Blue Cross and Blue Shield Association
    +'                               Case 3:20-cv-06145-RJB Document 176 SUBSCRIBER
                BlueCr oss BJueShleld oflllinois
                                                                         Filed 09/21/23  Page 10 of 28
                                                                                    INFORMATION
                                                                         PREMIUM ACTIVES
                                                                                                                 Member ID#:XXXXXXXX.3088              Group #: 000P171 92
CLAIM DETAIL            (1 of 1)                                                                                 Customer Advocates are here to help! 1-800-828-3116

PATIENT: -      R. -                                                                                              Amount Billed                                                         $140,122.91
PROVIDER: MEGAN JACOBS
                                                                                                                  Discounts and Reductions                                                   -$0.00
CLAIM#: 2159551897W0H                           DATE PROCESSED: 07/11/2023
                                                                                                                  Health Plan Responsibility                                                 -$0.00
We have reviewed the claim which was previously processed for this patient. The following shows how
this claim was adjusted.                                                                                          You may owe your health care provider for these services              $140,122.91

                                                                 YOUR BENEFITS APPLIED                                                          YOUR RESPONSIBILITY                                    I
                                                                               Amount
                           Service                       Discounts and                           Health Plan         Deductible        Copay                           Amount Not       Your Total
Service Description                      Amount Billed                         Covered                                                             Coinsurance
                           Dates                          Reductions                            Responsibility        Amount           Amount                           Covered           Costs
                                                                              (Allowed)
Surgery                    05/24/2022           517.00                                                                                                                     (1)517.00          517.00
Injectable/Oral Med        05/24/2022       139,605.91                   II                 I
                                                                                                                                                                   I   (1) 139,605.91     139,605.91

CLAIM TOTALS                               $140,122.91           $0.00              $0.00               $0.00                $0.00         $0.00           $0.00        $140,122.91      $140,122.91

Notes about amounts under "YOUR BENEFITS APPLIED" and "YOU 0 Rl:SPONSle LITY"
(1) Transgender services, including this service, are not covered under the terms of your plan. You may be responsible for the billed charge.




For your up-to-date Medical Spending summary, visit Blue Access for MembersSM on our website, the BCBSIL Mobile App or call the phone number on the
back of your ID card.
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. .'       BlueCross BlueShield of Illinois


                                  IMPORTANT INFORMATION (Retain for your records)
If we have denied your claim for benefits, in whole or in part, for a treatment or service, rescinded (see your Benefit Booklet
for details) your coverage, or denied or limited your eligibility, this document serves as part of your notice of the denial
decision.

                                                    Your Right to Appeal
You may appeal if you think you have been denied benefits in error. For all levels of appeals and reviews described
below, you may give a written explanation of why you think we should change our decision and you may give any
documents you want to add to make your point. For appeals, you may also make a verbal statement about your case.
Send a written appeal request to:     Blue Cross and Blue Shield of Illinois
                                      Claim Review Section
                                      PO Box 2401
                                      Chicago, IL 60690
To file an appeal or if you have questions, please call 800-458-6024 (TTYffDD: 711l, send a fax to 888-235-2936, or send
a secure email using our Message Genter by logging into Blue Access for Members M (BAM 8M) at bcbsil.com


                                                Authorized Representative
You can name a person to act for you (including an attorney) on your appeal or external review- known as an "authorized
representative." To use an authorized representative, you must first complete the necessary form. Call us at the number
above to request the form, or to get more information if the person this document was sent to cannot act on his or her own.
In urgent care situations, a doctor may act as your authorized representative without completing the form.


                                                   Standard Appeal
You, or an authorized representative (see above process for choosing someone to act for you), may appeal in writing or by
phone. To send an appeal in writing use the contact information above and include any added information you want to give
us as well as:
    • A copy of the decision letter or Explanation of Benefits (EOB)
     • The reference number or claim number {often found on the decision letter or EOB)
You can get copies free of charge of your relevant claim documents, including the rules, codes and guidelines we used in
making a decision. To request the copies, use the contact information above. Unless your plan says otherwise, you have
180 calendar days from the date you received our initial decision to file your appeal.
                    We will send you a written decision for appeals that need medical review within 30 calendar days
 What happens next? after we receive your appeal request, or if you are appealing before getting a service. All other
                    appeals will be answered within 60 calendar days.


                                               Expedited (Urgent) Appeal
You, your authorized representative, or your doctor, can ask for an expedited appeal if you or your doctor believe that your
life or health could be threatened by waiting for a standard appeal. To do so, you, your doctor, or your authorized
representative, should call us at 800-458-6024 (TTYffDD: 711) or fax your request to 918-551-2011 . You have 180
calendar days to file your expedited appeal request. You may also ask for an Expedited External (Outside) Review, as
described below, at the same time by calling 800-458-6024.
 Wh th                t? I If you qualify for this type of appeal, we will give you a decision by phone within 72 hours after we
     a appens nex • receive your appeal request.



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. .'      BlueCross BlueShield of Illinois

                                  Your Right to a Standard External (Outside) Review
You may ask for an external review with an Independent Review Organization (IRO} if your appeal was denied based on
any of the reasons below. You may also ask for external review if we failed to give you a timely decision as stated in the
Standard Appeal section above, and your claim was denied for one of these reasons:
    • A decision about the medical need for or the experimental status of a recommended treatment
    • A condition was considered pre-existing
    • Your health care coverage was rescinded (see your Benefit Booklet for details}
If your case qualifies for external review, an IRO will review your case (including any data you'd like to add}, at no cost to
you, and make a final decision. To ask for an external review, you'll need to complete the necessary form and submit it to
BCBSIL. You may get a form by calling the number on your ID card. Unless your plan says otherwise, you have 4 months
from the date you received the decision notice to file your external review request.
                           If you qualify for an External Review, an IRO will review your case and mail you its decision
  What happens next?       within 45 calendar days. That decision is final and binding on BCBSIL and you.



                                     Expedited (Urgent) External Review
You can ask for this type of review if:
   • failure to get treatment in the time needed to complete an Expedited Appeal or an External Review would
       seriously harm your life, health or ability to regain maximum function ;
    • the request is about an admission, availability of care, continued stay or health care service that you received with
        emergency services, before your discharge from a facility;
    • the request for treatment is experimental or investigational and your health care provider states in writing that the
        treatment would be much less effective if not promptly started; or,
    • we failed to give you a decision within 72 hours of your request for an expedited appeal
The IRO that does the expedited external review will decide if the covered person needs to complete the expedited
(urgent) appeal process before the Expedited (Urgent} External Review can be started. If you think your case may qualify
for an Expedited External Review, call 800-458-6024.
  What happens next?      I If you qualify for this type of review, the IRO will give you a decision within 72 hours.


                                              Notice about Provider Appeals
If you used an in-network provider, your provider may be able to file an appeal request for benefits you've been denied.
You and your provider may file appeals separately and at the same time. Deadlines for filing appeals or external review
requests are not delayed by appeals made by your provider UNLESS you have chosen your provider to act for you as
your authorized representative. Choosing your provider to act for you must be done in writing. If your provider is acting on
your behalf, then the provider must meet the deadlines you would have to meet to file such requests.




                                                     Additional Rights
If you receive your benefits through an employer, you may also have the right to bring an action under Section 502(a) of a
law called ERISA. To learn more, call the Employee Benefits Security Administration at 866-444-EBSA (3272) .




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. .'      BlueCross BlueShield of Illinois

                                                   Department of Insurance
The Illinois Department of Insurance {IDOi} offers consumer assistance. If your standard or expedited (urgent) external
review request does not qualify for review by your plan or its representatives, you may file an appeal with the IDOi at the
Springfield address below. Also, if you have questions about your rights, wish to file a complaint or wish to take up your
matter with the IDOi , you may use either address below.
                IDOi                                                        IDOi , Office of Consumer Health Insurance
                320 W. Washington St.                                      122 S. Michigan Ave .,1 9th Floor
                Springfield, Illinois 62767-0001                           Chicago, Illinois 60603
                Review Request: 877-850-4 740                               Complaints: 877-527-9431
                Fax: 217-577-8495                                           Email: DOl.lnfoDesk@illinois.gov
                                      IDOi Web: https://mc.insurance.illinois.gov



                                     Health care coverage is important for everyone.
        We provide free communication aids and services for anyone with a disability or who needs language
        assistance. We do not discri minate on the basis of race , color, national origin, sex, gender identity, age,
        sexual orientation, health status or disability.

            To receive language or communication assistance free of charge, please call us at 855-710-6984.

 If you believe we have failed to provide a service, or think we have discriminated in another way, contact us to file a
 grievance.
        Office of Civil Rights Coordinator             Phone:   855-664-7270 (voicemail)
        300 E. Randolph St.                            TTY/TDD: 855-661-6965
        35th Floor                                     Fax:     855-661-6960
        Chicago, Illinois 60601

 You may file a civil rights complaint with the U.S. Department of Health and Human Services, Office for Civil Rights, at:
        U.S. Dept. of Health & Human Services          Phone:                800-368-1019
        200 Independence Avenue SW                     TTY/TDD:              800-537-7697
        Room 509F, HHH Building 1019                   Complaint Portal:     https://ocrportal.hhs.gov/ocr/portal/lobby.jsf
        Washington , DC 20201                          Complaint Forms:      http://www.hhs.gov/ocr/office/fileflndex.html




IL02.G.UGF.F 220629                                      bcbsil.com                                                 Page 3
                          Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 14 of 28
• {I BlueCross BlueSWeld of Il1inois
                              If you, or someone you are helping, have questions, you have the right to get help and information
                                            in your language at no cost. To talk to an interpreter, call 855-710-6984.

 Espanol                 Si usted o alguien a quien usted esta ayudando tiene preguntas, tiene derecho a obtener ayuda e
 Spanish                 informaci6n en su idioma sin costo alguno. Para hablar con un interprete, llame al 855-710-6984.
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 Arabic                                                                     .855-710-6984 ~)\ i)c J.-:;\ '<.j.J.J! r-""fa ~ ~ .4-ilS:i ~I

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 Chinese                 ;*~~-1fi:t~~l~. ~li~r~~i ~ml, 855-710-6984 0
 Francais                Si vous, ou quelqu'un que vous etes en train d'aider, avez des questions, vous avez le droit d'obtenir de
 French                  l'aide et !'information dans votre langue aaucun cout. Pour parler aun interprete, appelez 855-710-6984.

 Deutsch                 Falls Sie oder jemand, dem Sie helfen, Fragen haben, haben Sie das Recht, kostenlose Hilfe und
 German                  lnformationen in lhrer Sprache zu erhalten. Um mit einem Dolmetscher zu sprechen, rufen Sie bitte die
                         Nummer 855-710-6984 an.

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                         <>Uvlct y_-ru ~~2.1., ct\. ctl-1.~ 0·1.l 'l>l~, ctl-1.l <?U't\ll-ll l-1.t.E. Q{~ l-lla, l{CJlClctlatl e55- ei.
 Gujarati                s,~lftlct.l t'll ctlct 8-cctl i.tl Q{l ai.vt~ 855-710-6984 'Lt~ EslC-t. Es~.
                         ~ ~ . <IT 3TT4 11~.flc:f:;1 tl$ l.lf rl I cR ~ ~ ~ . g~;:r ~. i l l ~ ~ 3TI"TT °tr ti:~~
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 Hindi                   tR' ~ "cf,'t I.                                              .j



 Italiano                Se tu o qualcuno che stai aiutando avete domande, hai ii diritto di ottenere aiuto e informazioni nella tua
 Italian                 lingua gratuitamente. Per parlare con un interprete, puoi chiamare ii numero 855-710-6984.
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 Navajo                  855-710-6984.
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                         Jesli Ty lub osoba, kt6rej pomagasz, macie jakiekolwiek pytania, macie prawo do uzyskania
 Polski                  bezptatnej i11formacji i pomocy we wlasnym j~zyku. Aby porozmawiac z ttumaczem, zadzwon pod
 Polish                  numer 855-710-6984.

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 Tagalog                 Kung ikaw, o ang isang taong iyong tinutulungan ay may mga tanong, may karapatan kang makakuha ng
 Tagalog                 tulong at impormasyon sa iyong wika nang walang bayad. Upang makipag-usap sa isang tagasalin-wika,
                         tumawag sa 855-710-6984.
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 Tieng Vi$!              N~u quy vj, ho~c ngU'oi ma q_uy vj giuP. d&, c6 cau hoi, thi quy vj c6 quyen dU'qc giup d& va nh~n thong tin
 Vietnamese              bang ng6n ngfr cua minh mien phi. De n6i chuy$n vai m9t thong djch vien, g9i 855-710-6984.


                                                                                                                                        Page4
IL02.G.UGF.F 220629                                                   bcbsil.com
+'                         Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 15 of 28
                       BlueCross BlueShield of Illinois
                        PO Box 7344
                        Chicago, IL 60680 7344
                                                              EXPLANATION OF BENEFITS
                                                                                                                                                            Log into Blue Access for Members"'at bcbsil.com
                                                                                                                                            •                   • View plan and claim details
                                                                                                                                                                 • Contact us through our secure Message Center
                                                                                                                                                                 • Sign up for digital health plan info
                                                                                                                                                                 • Search for health care providers
                                                                                                                                             ~ Text* BCBSILAPP to 33633 to download the
                                                                                                                                             ~              mobileapp.

                                                                                                                                                            Have questions about this EOB? Customer Advocates
                                                                                                                                                            are here to help! 1-800-828-3116
SUBSCRIBER INFORMATION
PREMIUM ACTIVES
Member ID#: XXXXXXXX.3088 Group#: 000P17192
Dear RICHARD C. LANG,
An Explanation of Benefits (EOB) is a statement showing how claims were processed. This is not a bill. Your provider(s) may bill you direcUy for
any amount you may owe. KEEP FOR YOUR RECORDS.
HELPFUL INFORMATION
Health Care Fraud Hotline: 800-543-0867
Health care fraud affects health care costs for all of us. If you suspect any person or company of defrauding or attempting to defraud Blue Cross
and Blue Shield of Illinois, please call our toll-free hotline. All calls are confidential and may be made anonymously. For more information about
health care fraud, please go to bcbsil.com.

        GLOSSARY OF TERMS • We have described some of the                                                                              Deductible: The amount, if any, you must pay before we start
        terms used here to help you understand them, but you                                                                           paying contract benefits. You do not send this amount to us.
        should make sure to read your benefit plan materials if you                                                                    We subtract this amount from covered expenses on claims you
        have questions.                                                                                                                and health care professionals send us. Some services can be
        Amount Billed: The amount your provider billed for the                                                                         covered before the deductible is met.
        service(s) rendered.                                                                                                           Non-Participating Provider: An out-of-network provider who
        Amount Covered (Allowed): Discounts, reductions, and
                                                                                                                                       does not accept rates for services we set to keep your costs
        amount covered (allowed) reflect the tenns of your plan, and in                                                                down.
        the case of an in-network provider, the savings we have                                                                        Out-of-Pocket Limit (Maximum): Once you pay this amount in
        negotiated with your provider. Your deductible, coinsurance                                                                    deductibles, copayments and coinsurance for covered services,
        and copay are based on the allowed amount and the tenns of                                                                     we pay 100% of the allowed amount for covered services for
        your plan. Your share of coinsurance is a percentage of the                                                                    the rest of the benefit period.
        allowed amount after the deductible is met.                                                                                    Participating Provider: An in-network or out-of-network
        Coinsurance: The percentage of the allowed amount you pay                                                                      provider who accepts agreed-upon rates for services.
        as your share of the bill. For example, if your plan pays 80% of                                                               Your Total Costs: This is the sum of your copay, deductible
        the allowed amount, 20%would be your coinsurance.                                                                              and coinsurance. It also includes any amounts not covered by
        Copay Amount (Also known as Copayment): The set fee                                                                            your health plan. Amounts that a non-participating provider may
        you pay each time you receive a certain service. Some plans                                                                    bill you are not part of this.
        do not have copayments.




'Message ard dala rates may al'{ly. Terms & Ccrdtioosard Pmecy Polity bcbsl.com/ffllbiltltext..,,..saging
Blue Cross Md Bile Slield d lllncis povides 81tni'istraive dairrs pa)fll<!flt services orly and does not assoo,e anylilaooal risk a ct,ligalicr, wit> resped to dains.
Blue Cross and Blue Shield of llinols, a Division of Health Care Service Corporation,
a Mutual Legal Reserve Company, an Independent Licensee of the Blue Cross and Blue Shield Association
    +'                               Case 3:20-cv-06145-RJB Document 176 SUBSCRIBER
                BlueCr oss BJueShleld oflllinois
                                                                         Filed 09/21/23  Page 16 of 28
                                                                                    INFORMATION
                                                                         PREMIUM ACTIVES
                                                                                                                 Member ID#:XXXXXXXX.3088              Group #: 000P171 92
CLAIM DETAIL            (1 of 1)                                                                                 Customer Advocates are here to help! 1-800-828-3116

PATIENT: -          R. -                                                                            Amount Billed                                                                      $33,212.31
PROVIDER: KARA CONNELLY
                                                                                                    Discounts and Reductions                                                               -$0.00
CLAIM#: 2104555F0630H                         DATE PROCESSED: 06/30/2023
                                                                                                    Health Plan Responsibility                                                             -$0.00
We have reviewed the claim which was previously processed for this patient. The following shows how
this claim was adjusted.                                                                            You may owe your health care provider for these services                           $33,212.31

                                                                 YOUR BENEFITS APPLIED                                                        YOUR RESPONSIBILITY                                    I
                                                                               Amount
                           Service                       Discounts and                           Health Plan         Deductible      Copay                            Amount Not      Your Total
Service Description                      Amount Billed                         Covered                                                           Coinsurance
                           Dates                          Reductions                            Responsibility        Amount         Amount                            Covered          Costs
                                                                              (Allowed)
Injectable/Oral Med        03/30/2022        33,053.31                                                                                                                 (1)33,053.31      33,053.31
Injectable/Oral Med        03/30/2022           159.00                   II                 I
                                                                                                                                                                 II      (1) 159.00         159.00
CLAIM TOTALS                                $33,212.31           $0.00              $0.00               $0.00                $0.00      $0.00            $0.00          $33,212.31      $33,212.31

Notes about amounts under "YOUR BENEFITS APPLIED" and "YOU 0 Rl:SPONSle LITY"
(1) Transgender services, including this service, are not covered under the terms of your plan. You may be responsible for the billed charge.




For your up-to-date Medical Spending summary, visit Blue Access for MembersSM on our website, the BCBSIL Mobile App or call the phone number on the
back of your ID card.
               Case 3:20-cv-06145-RJB Document 176 Filed 09/21/23 Page 17 of 28
. .'       BlueCross BlueShield of Illinois


                                  IMPORTANT INFORMATION (Retain for your records)
If we have denied your claim for benefits, in whole or in part, for a treatment or service, rescinded (see your Benefit Booklet
for details) your coverage, or denied or limited your eligibility, this document serves as part of your notice of the denial
decision.

                                                    Your Right to Appeal
You may appeal if you think you have been denied benefits in error. For all levels of appeals and reviews described
below, you may give a written explanation of why you think we should change our decision and you may give any
documents you want to add to make your point. For appeals, you may also make a verbal statement about your case.
Send a written appeal request to:     Blue Cross and Blue Shield of Illinois
                                      Claim Review Section
                                      PO Box 2401
                                      Chicago, IL 60690
To file an appeal or if you have questions, please call 800-458-6024 (TTYffDD: 711l, send a fax to 888-235-2936, or send
a secure email using our Message Genter by logging into Blue Access for Members M (BAM 8M) at bcbsil.com


                                                Authorized Representative
You can name a person to act for you (including an attorney) on your appeal or external review- known as an "authorized
representative." To use an authorized representative, you must first complete the necessary form. Call us at the number
above to request the form, or to get more information if the person this document was sent to cannot act on his or her own.
In urgent care situations, a doctor may act as your authorized representative without completing the form.


                                                   Standard Appeal
You, or an authorized representative (see above process for choosing someone to act for you), may appeal in writing or by
phone. To send an appeal in writing use the contact information above and include any added information you want to give
us as well as:
    • A copy of the decision letter or Explanation of Benefits (EOB)
     • The reference number or claim number {often found on the decision letter or EOB)
You can get copies free of charge of your relevant claim documents, including the rules, codes and guidelines we used in
making a decision. To request the copies, use the contact information above. Unless your plan says otherwise, you have
180 calendar days from the date you received our initial decision to file your appeal.
                    We will send you a written decision for appeals that need medical review within 30 calendar days
 What happens next? after we receive your appeal request, or if you are appealing before getting a service. All other
                    appeals will be answered within 60 calendar days.


                                               Expedited (Urgent) Appeal
You, your authorized representative, or your doctor, can ask for an expedited appeal if you or your doctor believe that your
life or health could be threatened by waiting for a standard appeal. To do so, you, your doctor, or your authorized
representative, should call us at 800-458-6024 (TTYffDD: 711) or fax your request to 918-551-2011 . You have 180
calendar days to file your expedited appeal request. You may also ask for an Expedited External (Outside) Review, as
described below, at the same time by calling 800-458-6024.
 Wh th                t? I If you qualify for this type of appeal, we will give you a decision by phone within 72 hours after we
     a appens nex • receive your appeal request.



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. .'      BlueCross BlueShield of Illinois

                                  Your Right to a Standard External (Outside) Review
You may ask for an external review with an Independent Review Organization (IRO} if your appeal was denied based on
any of the reasons below. You may also ask for external review if we failed to give you a timely decision as stated in the
Standard Appeal section above, and your claim was denied for one of these reasons:
    • A decision about the medical need for or the experimental status of a recommended treatment
    • A condition was considered pre-existing
    • Your health care coverage was rescinded (see your Benefit Booklet for details}
If your case qualifies for external review, an IRO will review your case (including any data you'd like to add}, at no cost to
you, and make a final decision. To ask for an external review, you'll need to complete the necessary form and submit it to
BCBSIL. You may get a form by calling the number on your ID card. Unless your plan says otherwise, you have 4 months
from the date you received the decision notice to file your external review request.
                           If you qualify for an External Review, an IRO will review your case and mail you its decision
  What happens next?       within 45 calendar days. That decision is final and binding on BCBSIL and you.



                                     Expedited (Urgent) External Review
You can ask for this type of review if:
   • failure to get treatment in the time needed to complete an Expedited Appeal or an External Review would
       seriously harm your life, health or ability to regain maximum function ;
    • the request is about an admission, availability of care, continued stay or health care service that you received with
        emergency services, before your discharge from a facility;
    • the request for treatment is experimental or investigational and your health care provider states in writing that the
        treatment would be much less effective if not promptly started; or,
    • we failed to give you a decision within 72 hours of your request for an expedited appeal
The IRO that does the expedited external review will decide if the covered person needs to complete the expedited
(urgent) appeal process before the Expedited (Urgent} External Review can be started. If you think your case may qualify
for an Expedited External Review, call 800-458-6024.
  What happens next?      I If you qualify for this type of review, the IRO will give you a decision within 72 hours.


                                              Notice about Provider Appeals
If you used an in-network provider, your provider may be able to file an appeal request for benefits you've been denied.
You and your provider may file appeals separately and at the same time. Deadlines for filing appeals or external review
requests are not delayed by appeals made by your provider UNLESS you have chosen your provider to act for you as
your authorized representative. Choosing your provider to act for you must be done in writing. If your provider is acting on
your behalf, then the provider must meet the deadlines you would have to meet to file such requests.




                                                     Additional Rights
If you receive your benefits through an employer, you may also have the right to bring an action under Section 502(a) of a
law called ERISA. To learn more, call the Employee Benefits Security Administration at 866-444-EBSA (3272) .




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. .'      BlueCross BlueShield of Illinois

                                                   Department of Insurance
The Illinois Department of Insurance {IDOi} offers consumer assistance. If your standard or expedited (urgent) external
review request does not qualify for review by your plan or its representatives, you may file an appeal with the IDOi at the
Springfield address below. Also, if you have questions about your rights, wish to file a complaint or wish to take up your
matter with the IDOi , you may use either address below.
                IDOi                                                        IDOi , Office of Consumer Health Insurance
                320 W. Washington St.                                      122 S. Michigan Ave .,1 9th Floor
                Springfield, Illinois 62767-0001                           Chicago, Illinois 60603
                Review Request: 877-850-4 740                               Complaints: 877-527-9431
                Fax: 217-577-8495                                           Email: DOl.lnfoDesk@illinois.gov
                                      IDOi Web: https://mc.insurance.illinois.gov



                                     Health care coverage is important for everyone.
        We provide free communication aids and services for anyone with a disability or who needs language
        assistance. We do not discri minate on the basis of race , color, national origin, sex, gender identity, age,
        sexual orientation, health status or disability.

            To receive language or communication assistance free of charge, please call us at 855-710-6984.

 If you believe we have failed to provide a service, or think we have discriminated in another way, contact us to file a
 grievance.
        Office of Civil Rights Coordinator             Phone:   855-664-7270 (voicemail)
        300 E. Randolph St.                            TTY/TDD: 855-661-6965
        35th Floor                                     Fax:     855-661-6960
        Chicago, Illinois 60601

 You may file a civil rights complaint with the U.S. Department of Health and Human Services, Office for Civil Rights, at:
        U.S. Dept. of Health & Human Services          Phone:                800-368-1019
        200 Independence Avenue SW                     TTY/TDD:              800-537-7697
        Room 509F, HHH Building 1019                   Complaint Portal:     https://ocrportal.hhs.gov/ocr/portal/lobby.jsf
        Washington , DC 20201                          Complaint Forms:      http://www.hhs.gov/ocr/office/fileflndex.html




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• {I BlueCross BlueSWeld of Il1inois
                              If you, or someone you are helping, have questions, you have the right to get help and information
                                            in your language at no cost. To talk to an interpreter, call 855-710-6984.

 Espanol                 Si usted o alguien a quien usted esta ayudando tiene preguntas, tiene derecho a obtener ayuda e
 Spanish                 informaci6n en su idioma sin costo alguno. Para hablar con un interprete, llame al 855-710-6984.
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 Arabic                                                                     .855-710-6984 ~)\ i)c J.-:;\ '<.j.J.J! r-""fa ~ ~ .4-ilS:i ~I

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 Chinese                 ;*~~-1fi:t~~l~. ~li~r~~i ~ml, 855-710-6984 0
 Francais                Si vous, ou quelqu'un que vous etes en train d'aider, avez des questions, vous avez le droit d'obtenir de
 French                  l'aide et !'information dans votre langue aaucun cout. Pour parler aun interprete, appelez 855-710-6984.

 Deutsch                 Falls Sie oder jemand, dem Sie helfen, Fragen haben, haben Sie das Recht, kostenlose Hilfe und
 German                  lnformationen in lhrer Sprache zu erhalten. Um mit einem Dolmetscher zu sprechen, rufen Sie bitte die
                         Nummer 855-710-6984 an.

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                         <>Uvlct y_-ru ~~2.1., ct\. ctl-1.~ 0·1.l 'l>l~, ctl-1.l <?U't\ll-ll l-1.t.E. Q{~ l-lla, l{CJlClctlatl e55- ei.
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 Hindi                   tR' ~ "cf,'t I.                                              .j



 Italiano                Se tu o qualcuno che stai aiutando avete domande, hai ii diritto di ottenere aiuto e informazioni nella tua
 Italian                 lingua gratuitamente. Per parlare con un interprete, puoi chiamare ii numero 855-710-6984.
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 Dine                    uika a' doolwol d66 bina'idHkidigii bee nil b odoonib. Ata'dahalne'igii bicbT bodiilnih kwe 'e
 Navajo                  855-710-6984.
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 Persian                      .~w J-La.. <.>'w 855-710-6984 °.Jw '-! ,~u..;. r-""fa ~ 4 ~ WP- . ~L.:. w.9\u.J i.::.itt:.".)1.1,1., ...s.....s
                         Jesli Ty lub osoba, kt6rej pomagasz, macie jakiekolwiek pytania, macie prawo do uzyskania
 Polski                  bezptatnej i11formacji i pomocy we wlasnym j~zyku. Aby porozmawiac z ttumaczem, zadzwon pod
 Polish                  numer 855-710-6984.

 PyccK1-1~               Ecn1-1 y sac 1,1n1,1 lienoseKa, KoropoMy Bbl noMoraere, B03HHKnl-1 Bonpocb1, y sac ecrb npaso Ha 6ecnnarHyio
                         noMOl4b 1,1 "1HqlOpMa41,1io, npe,£\OCTaBneHHYIO Ha saweM 513b1Ke. 4ro6bl CB5138TbCA C nepeBOA4HKOM,
 Russian                 no3BOH"1Te no renecpoHy 855-710-6984.

 Tagalog                 Kung ikaw, o ang isang taong iyong tinutulungan ay may mga tanong, may karapatan kang makakuha ng
 Tagalog                 tulong at impormasyon sa iyong wika nang walang bayad. Upang makipag-usap sa isang tagasalin-wika,
                         tumawag sa 855-710-6984.
              .Jj)        wi.o l»" u 4 j ~I .,S. ½;ll , j d   V'±l.JJ JI_,..,, ~.,S. 'U:!t d.J.P J..l.4 ½;ll ~ ~ .,S. j.JS c"":!I ~ y ,.,S '-ti _fil
 Urdu                               -U:!ft J\.S ..>.l 855-710-6984 'd c::5, c::}P u4 ~ r?-.fa ·d ~ LS 2ft J...=.6. wl,,~ .JJ1 J-lA
 Tieng Vi$!              N~u quy vj, ho~c ngU'oi ma q_uy vj giuP. d&, c6 cau hoi, thi quy vj c6 quyen dU'qc giup d& va nh~n thong tin
 Vietnamese              bang ng6n ngfr cua minh mien phi. De n6i chuy$n vai m9t thong djch vien, g9i 855-710-6984.


                                                                                                                                        Page4
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                                        Exhibit 3
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                     BlueCross BlueShield
                     of Illinois

                                                                                                               May 19, 2023

                                                                                  Subscriber:                                 111111111
                                                                                  Group/Sub. No.:                             P17192
                                                                                  Claim No.:                                  2104555F0630H, 2159551897WOH
                                                                                  Appeal ID No.:                              1111111)595
                                                                                  Appeal Type:                                Member

                                                                                  Phone:                                      (800)828-3116
                                                                                  Fax:                                        (918)551-2011
                                                                                  Email:                                      Appeals@bcbsil.com


Subject: Your Appeal Results

Dear salllll.
We received your appeal on March 17, 2023, for the denial of the below treatment or service(s) for the below mentioned
member. The appeal has been reviewed by an Appeals Specialist who was not involved in the prior denial. Supporting
documentation of this appeal decision is listed below.


  Appeal                   After careful review of the information we have, the appeal request has been denied.
  Decision


  Service(s)               Review of claims denials


  Member                  . .! .                                                           Provider               Kara Connelly, M.D.

  Service                  March 30, 2022, May 24, 2022                                   Facility                N/A
  Date(s)

  Initial                  Transsexual surgery and related                                Initial
                                                                                          Decision                530
  Decision                 psychiatric care not covered.                                  Code
  Initial                                                                                 Claim
  Decision Date            June 08, 2022                                                  Amount                  $173,335.22


The member has submitted an appeal regarding the above mentioned claims. The services were rendered on March 30,
2022 and May 24, 2022. After review, the claims are denied correctly based on the member's benefits. The denial states
transsexual surgery and related psychiatrtc care not covered. Per the policy, services related to Gender Reassignment
are not covered. It is an exclusion on the policy, which can be located on the Benefit Booklet on page 100. Benefits are
recommended to be verified prior to services being rendered. Per the case notes on file, this was not done. A benefit
verification would have shown the exclusion for the services. The Pre-Approval on file for the procedures are not a
guarantee of payment. This information is also listed on the letters provided. Under the approval does not guarantee
payment portion of the letter, it explains that the patient must be eligible to receive benefits. Therefore, per the information
listed, services related to gender reassignment will not be eligible.

                                                                                  bcbsil.com
       Blue Cross and 8~ S\ield of lllirois, allivison o·Heath Cue &Mce Co!pa'abocl, a '-lltual L~ Resgye Company, M Independent li:ersee cl t,e 81.ie Coss ard Blue Shie~ AsMaatial
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                      BlueCross BlueShield
                      of Illinois

                                                                                                                       May 19, 2023

                                                                                        Subscriber:                                   ftllll- - - - -
                                                                                        Group/Sub. No.:                              P17192,_....
                                                                                        Claim No.:                                   ~    5F0630H,2159551897WOH
                                                                                        Appeal ID No.:                               .-:>595
                                                                                        Appeal Type:                                 Member

Portland OR-                                                                            Phone:                                        (800)828-3116
                                                                                        Fax:                                          (918)551-2011
                                                                                        Email:                                        Appeals@bcbsil.com



Procedure(s) Reviewed:
11981 (Insertion, drug-delivery implant (ie, bioresorbable, biodegradable, non-biodegradable)), 96372 (Therapeutic,
prophylactic, or diagnostic injection (specify substa nce or drug); subcutaneous or intramuscular), J1950 (Injection,
leuprolide acetate (for depot suspension), per 3. 75 milligrams (mg)), J9226 (Histrelin implant (Supprelin LA) 50
milligrams (mg))

Additional information can be found in the member's SENTINEL TECHNOLOGIES Summary Plan Description
and/or benefit booklet

According to the 'Exclusions-What Is Not Covered" section:

"Expenses for the following are not covered under your benefit program:

- Gender reassignment Surgery (also referred to as transsexual Surgery, sex reassignment Surgery or intersex
Surgery), including related services and supplies.•

There is one internal appeal available to you. Your internal appeal rights have now been exhausted.

The member or the authorized representative acting on behalf of the member may request, free of charge, a copy of any
benefit provision, guideline, protocol, or other similar criterion that we relied upon to make this determination. The
member may also, upon request, obtain free copies of all documents relevant to the appeal including the specific
treatment and diagnosis code(s) and any new or additional evidence (if applicable) not utilized during the prior reviews.

If we accept a form naming an authorized representative it is not an acceptance of assgnment or waiver of any anti-
assignment provisions of the member's benefits information. Please refer to the anti-assignment provisions, if any, in the
Summary Plan Description and/or benefit booklet for more information.

To receive benefits, you must be eligible. The terms, rules and limits of your plan will be applied. Benefits will also be
based on whether the Provider(s) used for treatment are eligible with the plan's network. For more details, please refer to
the member's benefits information.

If you have questions orto request copies, please contact Customer Service at (800)828-3116.

Sincerely,




                                                                                         bcbsil.com
       Blue Cross and 8 ~ S\ield of lllirois, allivison o · Heath Cue &Mce Co!pa'abocl, a '-lltual L~   Resgye   Company, M Independent li:ersee cl t,e 81.1e Coss ard Blue Shie~ AsMaatial

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                                                                                        Fax:                                          (91 8)551-2011
                                                                                        Email:                                        Appeals@bcbsil.com



Lindsay B.
Appeals Specialist II
Appeals Department



Attachment:
IL02.G.UGF.F




                                                                                         bcbsil.com
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                                  IMPORTANT INFORMATION (Retain for your records)
If we have denied your claim for benefits, in whole or in part, for a treatment or service, rescinded (see your Benefit Booklet
for details) your coverage, or denied or limited your eligibility, this document serves as part of your notice of the denial
decision.

                                                    Your Right to Appeal
You may appeal if you think you have been denied benefits in error. For all levels of appeals and reviews described
below, you may give a written explanation of why you think we should change our decision and you may give any
documents you want to add to make your point. For appeals, you may also make a verbal statement about your case.
Send a written appeal request to: Blue Cross and Blue Shield of Illinois
                                    Claim Review Section
                                    PO Box2401
                                    Chicago, IL 60690
                                                                                       i,
To file an appeal or if you have questions, please call 800-458-6024 (TTY/TOD: 711 send a fax to 888-235-2936, or send
a secure email using our Message Center by logging into Blue Access for Members M (BAM5M) at bcbsil.com


                                                Authorized Representative
You can name a person to act for you (including an attorney) on your appeal or external review - known as an "authorized
representative." To use an authorized representative, you must first complete the necessary form. Call us at the number
above to request the form, or to get more information if the person this document was sent to cannot act on his or her own.
In urgent care situations, a doctor may act as your authorized representative without completing the form.


                                                   Standard Appeal
You, or an authorized representative (see above process for choosing someone to act for you) , may appeal in writing or by
phone. To send an appeal in writing use the contact information above and include any added information you want to give
us as well as:
    • A copy of the decision letter or Explanation of Benefits (EOB)
    • The reference number or claim number (often found on the decision letter or EOB)
You can get copies free of charge of your relevant claim documents, including the rules, codes and guidelines we used in
making a decision. To request the copies, use the contact information above. Unless your plan says otherwise, you have
180 calendar days from the date you received our initial decision to file your appeal.
                    We will send you a written decision for appeals that need medical review within 30 calendar days
 What happens next? after we receive your appeal request, or if you are appealing before getting a service. All other
                    appeals will be answered within 60 calendar days.


                                                  Expedited (Urgent) Appeal
You, your authorized representative, or your doctor, can ask for an expedited appeal if you or your doctor believe that your
life or health could be threatened by waiting for a standard appeal. To do so, you, your doctor, or your authorized
representative, should call us at 800-458-6024 (TTY/TOO: 711) or fax your request to 918-551-2011. You have 180
calendar days to fi le your expedited appeal request. You may also ask for an Expedited External (Outside) Review, as
described below, at the same time by calling 800-458-6024.
 Wh t h pe             t? If you qualify for this type of appeal, we will give you a decision by phone within 72 hours after we
     a ap ns nex I receive your appeal request.



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                                  Your Right to a Standard External (Outside) Review
You may ask for an external review with an Independent Review Organization (IRO) if your appeal was denied based on
any of the reasons below. You may also ask for external review if we failed to give you a timely decision as stated in the
Standard Appeal section above, and your claim was denied for one of these reasons:
     • A decision about the medical need for or the experimental status of a recommended treatment
     • A condition was considered pre-existing
     • Your health care coverage was rescinded (see your Benefit Booklet for details)
If your case qualifies for external review, an IRO will review your case (including any data you'd like to add), at no cost to
you, and make a final decision. To ask for an external review, you'll need to complete the necessary form and submit it to
BCBSIL. You may get a form by calling the number on your ID card. Unless your plan says otherwise, you have 4 months
from the date you received the decision notice to file your external review request
                           If you qualify for an External Review, an IRO will review your case and mail you its decision
  What happens next?       within 45 calendar days. That decision is final and binding on BCBSIL and you.


                                     Expedited (Urgent) External Review
You can ask for this type of review if:
     • failure to get treatment in the time needed to complete an Expedited Appeal or an External Review wou ld
         seriously harm your life, health or ability to regain maximum function ;
     • the request is about an admission, availability of care, continued stay or health care service that you received with
         emergency services, before your discharge from a facility ;
     • the request for treatment is experimental or investigational and your health care provider states in writing that the
         treatment would be much less effective if not prompfly started; or,
     • we failed to give you a decision within 72 hours of your request for an expedited appeal
The IRO that does the expedited external review will decide if the covered person needs to complete the expedited
(urgent) appeal process before the Expedited (Urgent) External Review can be started. If you think your case may qualify
for an Expedited External Review, call 800-458-6024.
  What happens next?      j 1f you qualify for this type of review, the IRO will give you a decision within 72 hours.




                                              Notice about Provider Appeals
If you used an in-network provider, your provider may be able to file an appeal request for benefits you've been denied.
You and your provider may file appeals separately and at the same time. Deadlines for filing appeals or external review
requests are not delayed by appeals made by your provider UNLESS you have chosen your provider to act for you as
your authorized representative. Choosing your provider to act for you must be done in writing. If your provider is acting on
your behalf, then the provider must meet the deadlines you would have to meet to file such requests.




                                                     Additional Rights
If you receive your benefits through an employer, you may also have the right to bring an action under Section 502(a) of a
law called ERISA. To learn more, call the Employee Benefits Serurity Administration at 866-444-EBSA (3272).



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                                                    Department of Insurance
The Illinois Department of Insurance (IDOi) offers consumer assistance. If your standard or expedited (urgent) external
review request does not qualify for review by your plan or its representatives, you may file an appeal with the IDOi at the
Springfield address below. Also, if you have questions about your rights, wish to fi le a complaint or wish to take up your
matter with the IDOi, you may use either address below.
                IDOi                                                        IDOi, Office of Consumer Health Insurance
                320 W. Washington St.                                       122 S. Michigan Ave .,19th Floor
                Springfield, Illinois 62767-0001                            Chicago, Illinois 60603
                Review Request: 877-850-4740                                Complaints: 877-527-9431
                Fax: 217-577-8495                                           Email: DOl.lnfoDesk@illinois.gov
                                      IDOi Web: https://mc.insurance.illinois.gov



                                    Health care coverage is important for everyone.
        We provide free communication aids and services for anyone with a disability or who needs language
        assistance. We do not discriminate on the basis of race, color, national origin, sex, gender identity, age,
        sexual orientation, health status or disability.

            To receive language or communication assistance free of charge, please call us at 855-710-6984.

 If you believe we have failed to provide a service, or think we have discriminated in another way, contact us to file a
 grievance.
        Office of Civil Rights Coordinator             Phone:   855-664-7270 (voicemail)
        300 E. Randolph St.                            TTY/TDD: 855-661-6965
        35th Floor                                     Fax:     855-661-6960
        Chicago, Illinois 60601

 You may file a civil rights complaint with the U.S. Department of Health and Human Services, Office for Civil Rights, at:
        U.S. Dept. of Health & Human Services          Phone:               800-368-1019
        200 Independence Avenue SW                     TTY/TDD:             800-537-7697
        Room 509F, HHH Building 1019                   Complaint Portal:    https://ocrportal.hhs.gov/ocr/portal/lobby.jsf
        Washington , DC 20201                          Complaint Forms:     http://www.hhs.gov/ocr/office/file/index.html




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                          If you, or someone you are helping, have questions, you have the right to get help and information
                                        in your language at no cost. To talk to an interpreter, call 855-710-6984.

 Espanol             Si usted o alguien a quien usted esta ayudando tiene preguntas, tiene derecho a obtener ayuda e
 Spanish             informaci6n en su idioma sin costo alguno. Para hablar con un interprete, llame al 855-710-6984.
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 Chinese             5~~~-1fl:fl~l~, ~~tti~~t 5.fRl~ 855-710-69840
 Fran~ais            Si vous, ou quelqu'un que vous etes en train d'aider, avez des questions, vous avez le droit d'obtenir de
 French              l'aide et !'information dans votre langue aaucun cout. Pour parler aun interprete, appelez 855-710-6984.
                     Falls Sie oder jemand, dem Sie helfen, Fragen haben, haben Sie das Recht, kostenlose Hilfe und
 Deutsch             lnformationen in lhrer Sprache zu erhalten. Um mit einem Dolmetscher zu sprechen, rufen Sie bitte die
 German              Nummer 855-710-6984 an.

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 Italiano            Se tu o qualcuno che stai aiutando avete domande, hai ii diritto di ottenere aiuto e informazioni nella tua
 Italian             lingua gratuitamente. Per parlare con un interprete, puoi chiamare ii numero 855-710-6984.

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 Polski              Jesli Ty lub osoba, kt6rej pomagasz, macie jakiekolwiek pytania, macie prawo do uzyskania
 Polish              bezpfatnej informacji i pomocy we wfasnym j~zyku. Aby porozmawiac z ttumaczem, zadzwori pod
                     numer 855-710-6984.

 PyccKM~             Ec1rn y Bae ~n~ 1.1enoBeKa, KoropoMy Bbl noMoraere, B03H~Kn~ BonpocbI, y Bae ecrb npaBo Ha 6ecnnarnyt0
 Russian             nOMOll.\b ~ ~HcpOpMa4MIO, npeAOCTaBneHHYIO Ha BaweM Sl3bIKe. LIT06bl CBSl3aTbCSI CnepeBOAYMKOM,
                     no3BOH~Te no renecpoHy 855-710-6984.

 Tagalog             Kung ikaw, o ang isang taong iyong tinutulungan ay may mga tanong, may karapatan kang makakuha ng
                     tulong at impormasyon sa iyong wika nang walang bayad. Upang makipag-usap sa isang tagasalin-wika,
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                     tumawag sa 855-710-6984.
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 Tieng Vi$t N~u quy vi, ho~c ngll'6'i ma quy vi giuP. dfr, c6 cau h6i, thl quy vi c6 quyen dlJ'Q'C giup dfr va nh$n thong tin
 Vietnamese bang ngon ngCr cua mlnh mien phf. Oe n6i chuy$n v&i m(>t thong dich vien, gQi 855-710-6984.


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